Case 8:25-cv-01123-JVS-KS      Document 1   Filed 05/23/25   Page 1 of 19 Page ID #:1




   1
       M. Danton Richardson (SBN 141709)
       [Email: drichardson@jwflawltd.com]
   2   John W. Fagerholm (SBN 213852)
   3
       [Email: jfagerholm@jwflawltd.com]
       Nicole E. Nemeth (SBN 290317)
   4   [Email: nnemeth@jwflawltd.com]
   5
       LAW OFFICES OF JOHN W. FAGERHOLM, LTD
       611 North Brand Suite 1300
   6   Glendale, CA 91203
   7   Tel: (323) 289-2260 I Fax: (323) 642-5441

   8   Attorneys for Plaintiff, DEALERSGEAR
   9
                            UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  11
       DEALERSGEAR, a California                Case No.:
  12
       Corporation,
  13                                            COMPLAINT FOR DAMAGES AND
                            Plaintiff,          INJUNCTIVE RELIEF
  14

  15                                                (1) VIOLATION OF RICO, 18
                 vs.                                    U.S.C. §1962 ET SEQ.;
  16
                                                    (2) RICO CONSPIRACY, 18 U.S.C.
  17   CREATIVE PACKAGE MCKAHAN,                        §1962(0);
       a California Corporation; HERVE              (3) THEFT OF TRADE SECRETS,
                                                        18 u.s.c. §1832;
  18
       YVES COMEAU, an individual;
  19   DAWN MCKAHAN, an individual;                 (4) COMPUTER FRAUD AND
       MICHAEL MCKAHAN, an                              ABUSE ACT, 18 U.S.C.
  20
       individual; AIDAN HUSAIN-                        §1030(A);
  21   KENNAN, an individual; and DOES              (5) FRAUD;
       1-10, inclusive,                             (6) MISAPPROPRIATION OF
  22
                                                        TRADE SECRETS
  23                      Defendants.                   (CALIFORNIA CIVIL CODE §
                                                        3426 ET SEQ.);
  24
                                                    (7) BREACH OF DUTY OF
  25                                                    LOYALTY;
  26
                                                    (8) BREACH OF CONTRACT;
                                                    (9) INTENTIONAL
  27                                                    INTERFERENCE WITH
  28                                            1
                       COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS   Document 1   Filed 05/23/25   Page 2 of 19 Page ID #:2




   1
                                                    PROSPECTIVE ECONOMIC
                                                    ADVANTAGE;
   2                                           (10) VIOLATION OF BUSINESS
   3                                                AND PROFESSIONS CODE §
                                                    17200 (UNFAIR
   4                                                COMPETITION LAW
   5

   6
   7

   8
   9

  10
  11

  12

  13
  14

  15

  16
  17

  18
  19

  20
  21

  22

  23
  24

  25

  26
  27

  28

                        COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS      Document 1     Filed 05/23/25      Page 3 of 19 Page ID #:3




   1                                    INTRODUCTION
   2         1.     Plaintiff DEALERSGEAR ("Plaintiff') by and through undersigned
   3   attorneys, brings this action against Defendants CREATIVE PACKAGE
   4   MCKAHAN ("CPM"); HERVE YVES COMEAU ("Comeau") an individual;
   5   DAWN MCKAHAN, an individual; MICHAEL MCKAHAN, an individual; AIDAN
   6   HUSAIN-KENNAN ("Kennan"), an individual; and DOES 1-10 for engaging in a
   7   calculated scheme to defraud, misappropriate trade secrets and confidential business
   8   information, destroy Plaintiffs business and unlawfully divert customers from
   9   Plaintiff to a rival operation controlled by Defendants.
  10         2.     Plaintiff is an established digital marketing company servmg the
  11   automotive sector.
  12         3.     CPM is a print marketing company that initially partnered with Plaintiff
  13   to help CPM offer digital marketing services along with their print services.
  14         4.     Comeau was Plaintiffs CFO and Digital Marketing Director and
  15   Plaintiffs trusted employee prior to joining CPM.
  16         5.     Defendants Dawn McKahan and Michael McKahan are officers and
  17   principals of CPM who worked closely with Comeau to provide Plaintiffs digital
  18   marketing service to CPM' s clients until the Defendants orchestrated the
  19   misappropriation of Plaintiffs proprietary assets.
  20         6.     Defendant Kennan worked as a Digital Coordinator for Plaintiff until he
  21   contributed to the conspiracy by passing on Plaintiffs proprietary data to CPM then
  22   permanently deleting the stolen data from Plaintiffs server preventing Plaintiff from
  23   use of its own data. Thereafter, Defendant Kennan resigned from his position with
  24   Plaintiff and took a job with CPM.
  25         7.     While employed by Plaintiff, Comeau was the direct liaison with CPM
  26   and Comeau conspired with CPM to misappropriate Plaintiffs client data, pricing
  27   structures, and proprietary marketing tools, divert business relationships and revenue
  28   streams to CPM and then join CPM.

                            COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS       Document 1      Filed 05/23/25    Page 4 of 19 Page ID #:4




   1          8.    Defendant Dawn McKahan worked directly with Comeau to facilitate
   2   the misappropriation of Plaintiffs confidential information and intellectual property.
   3         9.     Defendant Michael McKahan participated in the misappropriation of
   4   Plaintiffs confidential information and also terminated Plaintiffs contract with 15
   5   dealerships with an outstanding balance which is yet to be paid.
   6         10.    Defendants' coordinated conduct constitutes a pattern of racketeering
   7   activity under 18 U.S.C. §1961 et seq., including multiple acts of wire fraud and theft
   8   of trade secrets.
   9         11.    Defendants' acts were intentional, malicious, and fraudulent, resulting in
                    devastating
  11   financial harm to Plaintiff, the destruction of client relationships, and severe
  12   reputational injury. Plaintiff seeks damages, injunctive relief, and punitive damages
  13   for Defendants' egregious conduct.
  14                              JURISDICTION AND VENUE
  15         12.    This Court has subject matter jurisdiction under 18 U.S.C. §1964(c) and
  16   28 u.s.c. §1331.
  17         13.    The Court also has supplemental jurisdiction over the state law claims
  18   pursuant to 28 U.S.C. § 1367(a), as they form part of the same case or controversy
  19   under Article III of the United States Constitution.
  20         14.    Venue is proper in this district pursuant to 28 U.S.C. §1391 because the
  21   events giving rise to this action occurred in this district.
  22                                          PARTIES
  23         15.    Plaintiff DealersGear is a California corporation with its principal place
  24   of business in Irvine, California.
  25         16.    Defendant Creative Package McKahan is a California corporation with
  26   its principal place of business in Foothill Ranch, California.
  27         17.    Defendant Herve Yves Comeau is an individual and resident of
  28   California. At all relevant times, he was employed by DealersGear.

                             COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS         Document 1   Filed 05/23/25    Page 5 of 19 Page ID #:5




   1         18.    Defendant Dawn McKahan is an individual residing in California and a
   2   principal of CPM. At all relevant times, she worked in close coordination with Herve
   3   Comeau to facilitate the misappropriation of Plaintiffs confidential information and
   4   client relationships.
   5         19.    Defendant Michael McKahan is an individual residing in California and
   6   a principal of Creative Package McKahan. At all relevant times, he worked in close
   7   coordination with Herve Comeau to facilitate the misappropriation of Plaintiffs
   8   confidential information and client relationships.
   9         20.    Defendant Aidan Husain-Kennan is an individual residing in California.
  1o   He was employed by Plaintiff and, prior to his departure, deleted key proprietary files
  11   and later joined the efforts of the co-defendants in diverting business and clients.
  12         21.    Plaintiff is informed and believes that DOES 1 through 10 aided and
  13   abetted the scheme described herein and will amend this complaint to allege their
  14   names when known.
  15                                 FACTUAL ALLEGATIONS
  16         22.    PlaintiffDealersGear is a software and marketing company.
  17         23.    The company has spent years developing a unique and proprietary
  18   system of online marketing tools, processes, and data analytics to service its clients
  19   efficiently and with measurable results.
  20         24.    To perform its services, Plaintiff developed proprietary strategies, client
  21   relationship management systems, marketing templates, pricing structures, site-
  22   specific design frameworks, and business methods, all of which constitute protectable
  23   trade secrets under federal and California law.
  24         25.    Plaintiff and CPM entered into a business relationship in which Plaintiff
  25   would offer online digital marketing solutions to dealership clients referred by CPM,
  26   which historically only provided print media services until entering into an agreement
  27   with Plaintiff. This arrangement required significant trust and collaboration between
  28   the parties and was intended to be mutually beneficial.

                               COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS       Document 1     Filed 05/23/25   Page 6 of 19 Page ID #:6




   1         26.     In or around January 2020, Plaintiff hired Defendant Herve Comeau as
   2   an employee. Comeau was later promoted to the position of Chief Operating Officer.
   3   He was entrusted with access to nearly all aspects of Plaintiffs business operations,
   4   including its client portfolios, internal project timelines, marketing toolkits, and
   5   pricing strategies.
   6         27.     As a condition of employment, Comeau executed a Confidentiality, Non-
   7   Solicitation, and Work for Hire Agreement with Plaintiff. This agreement specifically
   8   prohibited the disclosure of trade secrets and confidential information, and barred
   9   Comeau from engaging in competing activities or soliciting DealersGear' s clients.
  10         28.     Plaintiff is informed and believes and based thereon alleges that while
  11   still employed by Plaintiff, and without Plaintiffs knowledge, Comeau began
  12   working behind the scenes with virtual design contractors and outside vendors in mid-
  13   2022 to replicate Plaintiffs systems.
  14         29.     Plaintiff is informed and believes and based thereon alleges that Comeau
  15   also initiated contact with CPM leadership including Defendants Dawn and Michael
  16   McKahan about transitioning the marketing services entirely to CPM using the
  17   proprietary strategies and information developed at DealersGear.
  18         30.     Plaintiff is informed and believes and based thereon alleges that during
  19   his employment with Plaintiff, Comeau accepted unauthorized compensation from
  20   parties affiliated with CPM in exchange for services and insider information, in direct
  21   violation of his employment agreement and fiduciary obligations. These payments
  22   were undisclosed to Plaintiff and reflect a clear conflict of interest and commercial
  23   disloyalty.
  24         31.     Plaintiff is informed and believes and based thereon alleges that Dawn
  25   McKahan, a principal of CPM, directly collaborated with Comeau throughout his
  26   employment at DealersGear to facilitate the unlawful transfer and use of proprietary
  27   information and intellectual property. Dawn McKahan played a central role in
  28   executing the plan to misappropriate Plaintiffs internal systems, client deliverables,

                             COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS      Document 1     Filed 05/23/25   Page 7 of 19 Page ID #:7




   1   and marketing strategies. She worked in close coordination with Comeau to replicate
   2   and deploy Plaintiffs business model through CPM's operations, all while concealing
   3   the source of the materials from clients and positioning CPM to take over Plaintiffs
   4   contracts. Her conduct demonstrates knowing and willful participation in a scheme to
   5   undermine and supplant DealersGear's business.
   6         32.    Michael McKahan, another principal of CPM, oversaw the transition of
   7   the dealership accounts and issued a formal termination letter on or about June 20,
   8   2023, ending CPM's engagement with DealersGear for fifteen (15) dealership clients.
   9   These clients, including Airport Marina Ford, Cerritos Nissan, and South County
  10   Lexus, generated substantial monthly revenue for Plaintiff ranging from $2,500 to
  11   $7,000 per client.
  12         33.    Plaintiff is informed and believes and based thereon alleges that
  13   immediately following the termination, CPM continued servicing these clients using
  14   nearly identical marketing deliverables previously created by Plaintiff.
  15         34.    Defendant Aidan Husain-Kennan was employed by DealersGear as a
  16   design and production assistant. Prior to his resignation, he was observed accessing
  17   folders containing project archives and design files across DealersGear's shared
  18   Google Drive and Dropbox accounts. When prompted to return his company laptop,
  19   internal audits revealed that large volumes of folders had been wiped or deleted which
  20   included intellectual property owned by Plaintiff.
  21         35.    Kennan failed to offer any credible explanation for the deletions, and
  22   shortly thereafter began working with CPM. He was later discovered to be
  23   corresponding with the same third-party designers recruited by Comeau. Evidence
  24   suggests that he helped accelerate CPM's ability to "go live" with former Dealers
  25   Gear clients immediately after the transition.
  26         36.    Plaintiff is informed and believes and based thereon alleges that
  27   following their respective departures from DealersGear, Defendants Comeau and
  28   Kennan assisted CPM in launching near-identical marketing services using Plaintiffs

                            COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS       Document 1     Filed 05/23/25    Page 8 of 19 Page ID #:8




   1   confidential materials and methodologies. This included replicating digital campaigns,
   2   email templates, and client-facing designs that had been previously developed and
   3   stored exclusively within Plaintiffs systems.
   4         37.    The stolen trade secrets-such as campaign frameworks, client pricing
   5   models, and SEO strategies-derive independent economic value from not being
   6   generally known to the public or competitors. Plaintiff took reasonable and consistent
   7   steps to safeguard this information, including the use of confidentiality agreements,
   8   password protections, internal data restrictions, and employee training on trade secret
   9   handling.
  10         38.    Plaintiff is informed and believes and based thereon alleges that all four
  11   individual defendants, Comeau, Dawn McKahan, Michael McKahan and Kennan
  12   acted with coordinated intent to cripple Plaintiffs ability to retain its clients and shift
  13   the ongoing revenues to CPM using stolen materials. Kennan's actions further aided
  14   and abetted this scheme.
  15         39.    Plaintiff is informed and believes and based thereon alleges that the
  16   misappropriation and client poaching began as early as 2021 and continued through
  17   at least Q3 2023. These acts were not isolated but part of a calculated, multi-phase
  18   plan to migrate business assets away from Plaintiff and rebrand them under CPM's
  19   control, without compensating Plaintiff or acknowledging the origin of the content.
  20         40.    In June 2023, CPM refused to remit payment on outstanding invoices
  21   totaling $16,500, despite multiple communications and demands. Plaintiff sent formal
  22   legal notices, asserting its contractual and intellectual property rights, but Defendants
  23   did not comply.
  24         41.    Plaintiff is informed and believes and based thereon alleges that
  25   defendants continue to benefit from the client accounts and assets they
  26   misappropriated.
  27         42.    Plaintiff remains irreparably harmed, having lost substantial goodwill,
  28   client trust, and long-term business value tied to relationships and systems that took

                            COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS       Document 1    Filed 05/23/25   Page 9 of 19 Page ID #:9




   1   years to build.
   2                               FIRST CAUSE OF ACTION
   3                       (Violation of RICO, 18 U.S.C. §1962 ET SEQ)
   4         43.    Plaintiff is informed and believes and based thereon alleges that
   5   defendants Comeau, Dawn McKahan, Michael McKahan, Kennan, and CPM
   6   conducted or participated in the affairs of an enterprise through a pattern of
   7   racketeering activity, including wire fraud (18 U.S.C. §1341), theft of trade secrets
   8   (18 U.S.C. §1839), and fraud.
   9         44.    Plaintiff is informed and believes and based thereon alleges that each
  10   defendant engaged in specific predicate acts, including but not limited to Comeau's
  11   transmission of proprietary materials, Dawn and Michael McKahan's execution and
  12   implementation of a client takeover strategy, and Kennan's spoliation of digital
  13   evidence and assistance with the re-deployment of Plaintiffs services through CPM.
  14         45.    The racketeering acts caused injury to Plaintiffs business and property,
  15   including lost revenue, business relationships, and goodwill.
  16         46.    As a result of Defendants' RICO violations, Plaintiff is entitled to treble
  17   damages, costs, and attorney's fees under 18 U.S.C. §1964(c).
  18                              SECOND CAUSE OF ACTION
  19                         (RICO Conspiracy, 18 U.S.C. §1962(d))
  20         47.    Plaintiff incorporates by reference the allegations above as though fully
  21   set forth herein.
  22         48.    Plaintiff is informed and believes and based thereon alleges that
  23   defendants knowingly agreed to facilitate the operation of the enterprise through the
  24   above racketeering acts.
  25         49.    Plaintiff is informed and believes and based thereon alleges that each
  26   defendant took overt actions in furtherance of the conspiracy, including transferring
  27   proprietary data, deploying stolen marketing tools, deleting internal files, and
  28   executing client terminations that deprived Plaintiff of substantial revenue.

                             COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS        Document 1 Filed 05/23/25          Page 10 of 19 Page ID
                                         #:10



  1          50.    Plaintiff suffered injury as a direct result.
  2                               THIRD CAUSE OF ACTION
  3                         (Theft of Trade Secrets, 18 U.S.C. §1832)
  4          51.    Plaintiff incorporates by reference the preceding allegations as though
  5   fully set forth herein.
  6          52.    Plaintiff is informed and believes and based thereon alleges that
  7   defendants Herve Comeau, Aidan Husain-Kennan, and Creative Package McKahan
  8   (CPM) knowingly and intentionally, and without authorization, stole, appropriated,
  9   and converted to their own use trade secrets belonging to Plaintiff, including but not
 1o   limited to proprietary digital marketing strategies, SEO tools, client lists, pricing data,
 11   performance analytics, and internal campaign templates.
 12          53.    Plaintiff is informed and believes and based thereon alleges that while
 13   still employed by Plaintiff, Comeau used his position as Chief Operating Officer to
 14   access and misappropriate confidential systems and designs, and disclosed them to
 15   CPM, a competing enterprise, for personal and commercial gain. Plaintiff is also
 16   informed and believes and based thereon alleges that Comeau also received
 17   unauthorized payments from third parties in connection with this scheme.
 18          54.    Plaintiff is informed and believes and based thereon alleges that Kennan,
 19   in coordination with Comeau and CPM, deleted substantial volumes of proprietary
 20   content from Plaintiffs cloud storage, including Google Drive and Dropbox, and then
 21   assisted CPM in launching identical marketing services to Plaintiffs former clients.
 22          55.    Plaintiff is informed and believes and based thereon alleges that CPM
 23   knowingly received and utilized these stolen trade secrets to solicit and service over
 24   fifteen (15) dealership accounts, using Plaintiffs confidential methodologies and
 25   digital infrastructure.
 26          56.    The misappropriated information derived independent economic value
 27   from not being generally known to the public or competitors, and Plaintiff took
 28   reasonable steps to keep such information confidential, including confidentiality
                                                     10
                            COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS       Document 1 Filed 05/23/25        Page 11 of 19 Page ID
                                        #:11



  1   agreements, restricted access, and internal data controls.
  2         57.    By knowingly engaging in the unauthorized taking and use of Plaintiffs
  3   trade secrets with the intent to convert them to the economic benefit of a competitor,
  4   Defendants violated 18 U.S.C. § 1832.
  5         58.    As a direct result of this theft, Plaintiff has suffered substantial economic
  6   harm and is entitled to damages, injunctive relief, and all remedies available under 18
  7   u.s.c. § 1832.
  8                             FOURTH CAUSE OF ACTION
  9                 (Computer Fraud And Abuse Act, 18 U.S.C. §1030(A))
 10         59.    Plaintiff incorporates by reference the preceding allegations as though
 11   fully set forth herein.
 12          60.   Plaintiff is informed and believes and based thereon alleges that
 13   Defendants Comeau and Kennan knowingly accessed protected computers and cloud-
 14   based storage systems owned by Plaintiff, including shared Google Drive and
 15   Dropbox accounts, without authorization or by exceeding authorized access, and
 16   obtained, copied, or deleted information belonging to Plaintiff in violation of 18
 17   U.S.C. § 1030(a)(2) and (a)(5).
 18          61.   Plaintiff is informed and believes and based thereon alleges that,
 19   specifically, Kennan accessed proprietary project folders, deleted critical company
 20   records prior to his departure, and transferred files to third-party collaborators
 21   associated with CPM
 22          62.   Plaintiff is informed and believes and based thereon alleges that Comeau,
 23   while serving as CFO, similarly used internal digital platforms to extract marketing
 24   templates and business intelligence which he later used to support CPM' s operations
 25          63.   These acts caused loss to Plaintiff, including costs related to data
 26   recovery, forensic investigations, and remedial IT security measures, exceeding the
 27   $5,000 threshold under the act.
 28          64.   Plaintiff is entitled to compensatory damages, equitable relief, and other
                                                   11
                            COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS         Document 1 Filed 05/23/25      Page 12 of 19 Page ID
                                          #:12



  1   remedies available under 18 U.S.C. § 1030(g).
  2                                   FIFTH CAUSE OF ACTION
  3                                            (Fraud)
  4         65.      Plaintiff incorporates by reference the allegations above as though fully
  5   set forth herein.
  6         66.      Plaintiff is informed and believes and based thereon alleges that
  7   Defendants Comeau, Dawn McKahan, and Michael McKahan knowingly made
  8   material misrepresentations to clients and misappropriated information under false
  9   pretenses. Plaintiff is further informed and believes and based thereon alleges that
 1o   Comeau and Kennan falsely represented their ongoing loyalty while engaged in
 11   activities to undermine Plaintiff, as described above.
 12         67.      Plaintiff reasonably relied on the integrity of its employees and business
 13   partner to its detriment.
 14         68.      Defendants' conduct was fraudulent, oppressive, and malicious, entitling
 15   Plaintiff to compensatory and punitive damages.
 16                                   SIXTH CAUSE OF ACTION
 17             (Misappropriation of Trade Secrets - Cal. Civ. Code §3426 et seq)
 18         69.      Plaintiff incorporates by reference the allegations above as though fully
 19                  set forth
 20   herein.
 21         70.      Plaintiffs client lists, pricing structures, marketing methodologies,
 22                  business
 23   strategies, and internal systems are protectable trade secrets.
 24         71.      Plaintiff took reasonable measures to protect the confidentiality of its
 25                  trade secrets,
 26   including requiring employees to sign confidentiality agreements and limiting
 27   access to sensitive data.
 28         72.      Plaintiff is informed and believes and based thereon alleges that
                                                    12
                             COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS         Document 1 Filed 05/23/25      Page 13 of 19 Page ID
                                          #:13



  1   Comeau wrongfully disclosed and used Plaintiffs trade secrets without consent by
  2   sharing them with CPM. Dawn and Michael McKahan knowingly received and
  3   utilized these materials to provide services to Plaintiffs former clients. Plaintiff is
  4   further informed and believes and based thereon alleges that Kennan's deletion of
  5   proprietary content further facilitated the theft and concealment of Plaintiffs
  6   intellectual property.
  7         73.    As a direct result of Defendants' misappropriation, Plaintiff has
  8                suffered, and
  9   continues to suffer, substantial economic damages in an amount to be proven at trial.
 10         74.    Defendants' misappropriation was willful and malicious, entitling
 11                Plaintiff to
 12   punitive damages and attorney's fees.
 13                               SEVENTH CAUSE OF ACTION
 14                                 (Breach of Duty of Loyalty)
 15         75.    Plaintiff incorporates by reference the allegations above as though fully
 16                set forth
 17   herein.
 18         76.    As employees of Plaintiff, Comeau and Kennan owed Plaintiff a
 19                fiduciary duty of
 20   loyalty.
 21         77.    Plaintiff is informed and believes and based thereon alleges that Comeau
 22   breached his duty by colluding with CPM to divert clients, while still
 23   employed. Kennan assisted the transition by deleting sensitive company files and
 24   supporting the
 25   transfer of business to CPM.
 26         78.    As a direct result, Plaintiff suffered substantial financial harm.
 27   Ill
 28   Ill
                                                   13
                           COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS      Document 1 Filed 05/23/25       Page 14 of 19 Page ID
                                       #:14



  1                                  EIGHT CAUSE OF ACTION
  2                                        (Breach of Contract)
  3         79.    Plaintiff incorporates by reference the allegations above as though fully
  4                set forth
  5   herein.
  6         80.    Plaintiff and Comeau entered into a valid, enforceable Confidentiality,
  7                Non
  8   Solicitation, and Work for Hire Agreement.
  9         81.    Plaintiff is informed and believes and based thereon alleges that
 1o   Comeau breached the agreement by disclosing confidential information, soliciting
 11   Plaintiffs clients, and engaging in competition during and after his employment.
 12         82.    Kennan also entered into a valid and enforceable employment
 13                agreement with
 14   confidentiality provisions, which imposed obligations to preserve the integrity of
 15   Plaintiffs proprietary data and systems.
 16         83.    Plaintiff is informed and believes and based thereon alleges that
 17   Kennan breached his contractual obligations by deleting protected company files
 18   and later assisting in the use of Plaintiffs confidential information to benefit CPM.
 19         84.    Defendant CPM entered into a business arrangement and course of
 20                conduct with
 21   Plaintiff under which DealersGear provided online marketing services to dealership
 22   clients referred by CPM, in exchange for payment and mutual cooperation. The
 23   relationship was governed by an implied and/or express agreement, the terms of
 24   which included reasonable expectations of continuity, fair dealing, payment for
 25   services rendered, and confidentiality.
 26         85.    Plaintiff is informed and believes and based thereon alleges that CPM
 27   breached this agreement by soliciting Plaintiffs clients, failing to pay
 28   16,500 in invoiced fees, and using Plaintiffs proprietary materials to continue
                                                 14
                           COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS          Document 1 Filed 05/23/25    Page 15 of 19 Page ID
                                           #:15



  1   servicing the same clients under its own name.
  2         86.    Additionally, Plaintiff is informed and believes and based thereon
  3   alleges that CPM breached the covenant of good faith and fair dealing inherent in
  4   the parties' agreement by intentionally undermining Plaintiffs business, concealing
  5   its intent to transition the clients away, and allowing its principals to misuse
  6   confidential information for unfair competitive advantage.
  7         87.    As a proximate result of the foregoing breaches, Plaintiff suffered
  8   financial losses, including but not limited
  9   to lost business and lost goodwill.
            88.    Plaintiff has performed all conditions, covenants, and promises
 11                required on its part
 12   under the agreement.
 13                                    NINTH CAUSE OF ACTION
 14                      (Intentional Interference with Prospective Economic
 15   Advantage)
 16         89.    Plaintiff incorporates by reference the allegations above as though fully
 17                set forth
 18   herein.
 19         90.    Plaintiff had economic relationships with its clients, including but not
 20                limited to at
 21   least fifteen (15) automotive dealerships, that carried a probability of future
 22   economic benefit. These included ongoing digital marketing services, advertising
 23   campaigns, SEO management, and data reporting-all provided through monthly
 24   service agreements.
 25         91.    Plaintiff is informed and believes and based thereon alleges that
 26   Defendants Comeau, Dawn McKahan, Michael McKahan, Kennan, and CPM knew
 27   of these relationships and intentionally engaged in wrongful conduct aimed at
 28   disrupting them.
                                                    15
                            COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS       Document 1 Filed 05/23/25        Page 16 of 19 Page ID
                                        #:16



  1         92.    Plaintiff is informed and believes and based thereon alleges that
  2   Defendants' conduct included misappropriating Plaintiffs marketing materials,
  3   falsely
  4   representing to clients that services would remain uninterrupted through CPM,
  5   orchestrating a mass transition of client accounts using Plaintiffs stolen property,
  6   and erasing proprietary data to impede Plaintiffs ability to continue performance.
  7         93.    Plaintiff is informed and believes and based thereon alleges that these
  8   actions were not protected business conduct, they were independently
  9   wrongful, in violation of confidentiality agreements, statutory protections for trade
 1o   secrets, and ethical duties of loyalty.
 11         94.    As a direct result of this intentional interference, Plaintiff lost long­
 12                standing client
 13   accounts, suffered reputational harm, and was deprived of substantial recurring
 14   revenue.
 15                               TENTH CAUSE OF ACTION
 16   (Violation of Business and Professions Code§ 17200 (Unfair Competition Law)
 17         95.    Plaintiff incorporates by reference the allegations above as though fully
 18                set forth
 19   herein.
 20         96.    Plaintiff is informed and believes and based thereon alleges that
 21   Defendants engaged in unlawful, unfair, and fraudulent business practices by
 22   misappropriating confidential information, interfering with business relationships,
 23   and engaging in unfair solicitation practices.
 24         97.    Plaintiff is entitled to restitution, injunctive relief, and any other
 25                remedies
 26   permitted by law.
 27   Ill
 28   Ill
                                                   16
                           COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS         Document 1 Filed 05/23/25     Page 17 of 19 Page ID
                                          #:17



  1                                   PRAYER FOR RELIEF
  2            WHEREFORE, PlaintiffDealersGear. respectfully requests judgment against
  3   all Defendants, jointly and severally, as follows:
  4            1.     General and special damages according to proof, including lost
  5   revenue,
  6            client accounts, and goodwill;
  7

  8            2.     Treble damages pursuant to 18 U.S.C. § 1964(c) for Defendants'
  9   violations of
               RICO·'
 11            3.     Compensatory damages under 18 U.S.C. § 1832 for theft of trade
 12   secrets, including the value of misappropriated assets and loss of business
 13   expectancy;
 14            4.     Damages, injunctive relief, and other remedies as permitted under 18
 15   U.S.C. § 1030(g) for unauthorized access and impairment of Plaintiffs computer
 16   systems;
 17            5.     Restitution and disgorgement of profits wrongfully obtained through
 18   unfair
 19            competition and misappropriation;
 20            6.     Punitive and exemplary damages for Defendants' fraud, malice, and
 21   willful misconduct;
 22            7.     Contractual damages including amounts owed under invoices and for
 23   breaches of express and implied agreements;
 24            8.     Permanent injunctive relief prohibiting Defendants from using or
 25   disseminating Plaintiffs confidential, proprietary, or trade secret information;
 26            9.     An accounting of all revenues earned from misappropriated materials
 27   or diverted client relationships;
 28
                                                   17
                             COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS      Document 1 Filed 05/23/25        Page 18 of 19 Page ID
                                       #:18



  1         10.    Attorney's fees and costs incurred in prosecuting this action, including
  2   those recoverable under statute or contract;
  3         11.    Pre-judgment and post-judgment interest as permitted by law; and
  4         12.    Such other and further relief as the Court may deem just and proper.
  5         13.
  6   DATED: May 23, 2025             Respectfully submitted,
  7                                   The Law Offices of John W. Fagerholm, Ltd.
  8
                                       By:_-+-+----.,,....__----.,...______
  9                                       M. :0 nton Ri rdson, Esq.
                                          John W. Fagerholm, Esq.
                                          Nicole E. Nemeth, Esq.
 11                                       Attorneys for Plaintiff,
 12
                                          DEALERS GEAR, INC.

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                                 18
                          COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:25-cv-01123-JVS-KS   Document 1 Filed 05/23/25       Page 19 of 19 Page ID
                                    #:19



  1                          DEMAND FOR JURY TRIAL
  2        Plaintiff DEALERS GEAR, INC., hereby demands a trial by jury.
  3

  4   DATED: May 23, 2025         Respectfully submitted,
  5                               The Law Offices of John W. Fagerholm, Ltd.
  6

  7
                                   By:_-+--+-----+-...,,...______
  8                                   M. anton Ric ardson, Esq.
  9
                                      John W. Fagerholm, Esq.
                                      Nicole E. Nemeth, Esq.
                                      Attorneys for Plaintiff,
 11
                                      DEALERS GEAR, INC.

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                            19
                       COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
